 1    ILENE J. LASHINSKY (#003073)
      United States Trustee
 2
      LARRY L. WATSON (CA #193531)
 3    Trial Attorney
      230 N. First Ave., Suite 204
 4    Phoenix, Arizona 85003-1706
      Phone: (602) 682-2600
 5    FAX: (602) 514-7270
      Email: Larry.Watson@usdoj.gov
 6
 7
                                IN THE UNITED STATES BANKRUPTCY COURT
 8
                                        FOR THE DISTRICT OF ARIZONA
 9
       In re:                                                In Proceedings under Chapter 11
10
       GV HOSPITAL MANAGEMENT, LLC,                          Case No. 4:17-bk-03351-SHG
11
12     GREEN VALLEY HOSPITAL,CLLC,                           Case No. 4:17-bk-03353-SHG

13     GV II HOLDINGS, LLC                                   Case No. 4:17-bk-03354-SHG

14                    Debtors.                               Jointly Administered
       ________________________________________
15                                                            AMENDED APPOINTMENT OF OFFICIAL
       This pleading applies to: ALL debtors.                 JOINT COMMITTEE OF UNSECURED
16                                                            CREDITORS (to correct Member No. 2)

17
18
19              Pursuant to 11 U.S.C. §§ 1102(a) and 1102(b)(1), the following creditors of the above-captioned

20    debtors, being among those holding the largest unsecured claims and who are willing to serve, are

21    appointed to the Official Joint Committee of Unsecured Creditors:

22
23                     1.     AB STAFFING SOLUTIONS, LLC
                              Attn: Evan Burks
24                            3451 S. Mercy Road, Suite 102
                              Gilbert AZ 85297
25                            Phone: 480-503-8910
                              Email: JHulsizer@ABStaffing.com
26
27
28


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 1                  2.     SOUTHERN AZ ANESTHESIA SERVICES PC
                           ATTN: David M. Joseph, MD
 2                         3390 N, Campbell, #110
 3                         Tucson AZ 85719
                           Phone: 520-241-1882
 4                         Fax: 888-723-2341
                           Email: dmjosephmd@gmail.com
 5
                    3.     EMPIRE SOUTHWEST, LLC
 6                         Attn: Stacey Kelly and John Helms
 7                         1725 South Country Club Drive
                           Mesa AZ 85210
 8                         Phone: 480-633-4000
                           Email: Stacy.Kelly@empire-cat.com
 9                                John.Helms@empire-cat.com
10                  4.     PADMON , LLC
11                         PO Box 4546
                           Tubac AZ 85646
12                         Phone: 520-612-8826
                           Email: luna_ivette@yahoo.com
13
14
15
             Dated: June 5, 2017                 RESPECTFULLY SUBMITTED
16
17                                                        ILENE J. LASHINSKY
                                                          United States Trustee
18                                                        District of Arizona

19
                                                          /s/ LLW (CA #193531
20                                                        Larry L. Watson
                                                          Trial Attorney
21
22    Copy of the foregoing emailed to the committee
      members and attorney for debtors on June 5, 2017:
23
24    S. CARY FORRESTER
      Forrester & Worth, PLLC
25    3636 North Central Avenue, Suite 700
      Phoenix AZ 85012
26    scf@forresterandworth.com
27    Attorney for Debtors

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 1    /s/ CMP
      Carol Popovich
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